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US DF Fy O ED
IN THE UNITED STATES DISTRICT COURT fet) on ; TRIC 7 Cour
MIDDLE DISTRICT OF GEORGIA ane, GEORGIA 7
(Athens) 820 O¢ T 2) AH
5 ‘4&7
UNITED STATES OF AMERICA ) a
PUTY CLER
Plaintiff ) oo

) Crim. No. 3:19-CR-00001
V )

) Hon. C Ashley Royal
JOSHUA WOODEY )
Defendant )

 

DEFENDANTS MOTION FOR LEAVE OF THE COURT TO COMPEL
COUNSEL TO TENDER DEFENDANTS CASE FILE

COMES NOW, Joshua Woodey, Pro se, the Defendant in the above titled action and
hereby respectfully requests leave of this Court to compel former counsel to tender the

defendants criminal case file.

STANDARD
A defendant who is incarcerated and indigent may request copies of transcripts and

materials pertaining to their case when available.

“Unless this Court requires the respondent to provide them with the documents herein

sought they will be further deprived of equal protection and therefore due process of law in that
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they shall be foreclosed habeas corpus relief by reason of their poverty and therefore inability to

pay the costs of the same” Rush v United States, 559 F. 2d 455, (7" Cir 1977)

“an indigent federal prisoner, permitted to proceed in forma pauperis, who has not yet
obtained a copy of their record in order to assist him in the preparation of post conviction
remedies”.....”may request such records in order to assist them”. See, MacCollom v United

States, 511 F. 2d 1116, 1124 (9" Cir 1975)

“It is now settled beyond a doubt that prisoners have a substantive constitutional right of
access to the courts and that inmate access must be “adequate, effective, and meaningful”

Bounds v Smith, 430 U.S. 817, 97 S. Ct. 1491, 52 L. Ed. 2d 72, 45 LW 4411.

DISCUSSION

The defendant has obtained assistance from Nationwide Legal Assistance Group,
(NLAG), a paralegal firm to file a post-conviction remedy based on the information it has
obtained. In order to proceed properly the defendant is in need of his case file consisting of all
documents related to his case including but not limited to any communication between his

counsel and the government, notes, filings, etc.

The defendant sent a request to his former counsel making this request as well as signed a

waiver asking that counsel provide this file to the paralegal who is assisting him.
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At no time has counsel provided any documentation to the defendant and now counsel

claims they have not received any form of request and it cannot be tendered.

Wherefore, the defendant respectfully prays for the relief within.

Respectfully submitted,

Ned \) oodlers

sos Woodey, Pro se

Defendant
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CERTIFICATE OF SERVICE

I Joshua Woodey, Pro se, the Defendant in the matter being submitted hereby declares that I have
mailed a copy of the following petition:

DEFENDANTS MOTION FOR LEAVE OF THE COURT TO COMPEL COUNSEL TO
TENDER DEFENDANTS CASE FILE

To the following parties:
Clerk of the Court

US District Court

PO BOX 1106

Athens, GA 30601

The petition was mailed by way of the United States Postal Service, F irst Class, Postage Paid and was
delivered to the Inmate Legal Mailbox on the 5th day of September 2020 by hand delivery.

I state this to be true under the terms of perjury. Signed this Sth day of September 2020.

Respectfully submitted,

NS) (Dodou

Josh}ja Woodey, Pro se (\
Defendant
